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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                  JUDGE WALKER D. MILLER

   Civil Action No. 05-cv-00377-WDM-BNB

   MOISES CARRAZA-REYES,

         Plaintiff,

   v.

   PARK COUNTY, et al.,

         Defendants.
   _____________________________________________________________________

                               MINUTE ORDER
   _______________________________________________________________

   JUDGE WALKER D. MILLER
   Jane Trexler, Secretary/Deputy Clerk

         The following minute order is entered by Judge Walker D. Miller:

         Defendants’motion to submit supplemental motion (doc. no. 179) is granted.

   Dated: April 25, 2007

                                                 s/ Jane Trexler, Secretary/Deputy Clerk
